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12                                      UNITED STATES DISTRICT COURT

13                                     NORTHERN DISTRICT OF CALIFORNIA

14 THE CITY AND COUNTY OF SAN               )           Case No. 3:18-cv-07591-CRB
   FRANCISCO, CALIFORNIA and THE            )
15 PEOPLE OF THE STATE OF CALIFORNIA, )                 PLAINTIFFS’ MEMORANDUM IN
   Acting by and through San Francisco City )           OPPOSITION TO DEFENDANT
16 Attorney DENNIS J. HERRERA,              )           ALLERGAN PLC’S MOTION TO DISMISS
                                            )           FIRST AMENDED COMPLAINT
17                             Plaintiffs,  )
                                            )           JUDGE: Hon. Charles R. Breyer
18        vs.                               )
                                            )
19 PURDUE PHARMA L.P., et al.,              )
                                            )
20                             Defendants.  )
                                            )
21

22                                     REDACTED VERSION OF DOCUMENT
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 1             The City and County of San Francisco, California and the People of the State of California,

 2 acting by and through San Francisco City Attorney Dennis J. Herrera (“Plaintiffs”), hereby oppose

 3 Specially Appearing Allergan plc’s Notice of Motion and Motion to Dismiss First Amended

 4 Complaint; Memorandum of Points and Authorities in Support (ECF No. 162) (“Memorandum”

 5 or “Mem.”), which seeks dismissal of Plaintiffs’ claims against it under Federal Rule of Civil

 6 Procedure (“Rule”) 12(b)(2) for lack of personal jurisdiction and Rule 12(b)(5) for insufficient

 7 service of process. For the reasons set forth below, the motion should be denied.

 8 I.          SUMMARY OF THE ARGUMENT
 9             Plaintiffs make a prima facie showing sufficient to justify the exercise of personal

10 jurisdiction over Allergan plc (“The plc”).1            Numerous courts in substantially identical
11 circumstances, including the MDL transferee court in this multidistrict litigation (“MDL”), denied

12 The plc’s motions to dismiss for lack of personal jurisdiction. The allegations and jurisdictional

13 facts show the exercise of personal jurisdiction over The plc is appropriate due to its relationship

14 with subsidiaries over whom jurisdiction is not contested. The plc’s motion to dismiss pursuant

15 to Rule 12(b)(2) should be denied.

16             So, too, should its motion to dismiss pursuant to Rule 12(b)(5). The MDL transferee court
17 ordered Allergan’s subsidiaries to accept service on The plc’s behalf in all MDL cases. Plaintiffs

18 have attempted to serve The plc, which has refused to accept service despite that order. This

19 gamesmanship should not be endorsed.

20 II.         INTRODUCTION
21             The plc’s incorporation document, the Constitution of Allergan Public Limited Company

22 Memorandum of Association, states that the Company was established “[t]o carry on the business

23 of a pharmaceuticals company, and to research, develop, design, manufacture, produce, supply,

24 buy, sell, distribute, import, export, provide, promote and otherwise deal in pharmaceuticals, active

25

26   1
      Allergan plc was formerly known as Actavis plc. ¶115; Mem. at 14 (signature block).
   References to “¶” and “¶¶” are to the First Amended Complaint, filed March 13, 2020 (ECF No.
27 128). To avoid   confusion, Allergan plc/Actavis plc will be referred to as “The plc” or “the
   Company”   herein, except as required by a direct quotation or context.
28
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 1 pharmaceutical ingredients and dosage pharmaceuticals.” Ex. 1 at 1.2 But according to its

 2 Memorandum, The plc is merely “a holding company that exists only to hold shares of other

 3 companies” and “does not manufacture, market, distribute, or sell any pharmaceutical products.”

 4 Mem. at 3.

 5             Indeed, The plc’s public statements and confidential documents tell a thoroughly different

 6 story from the one in its Memorandum. While The plc asserts its only offices are in Ireland (Mem.

 7 at 1, 7), its U.S. Securities and Exchange Commission (“SEC”) filings provide that its

 8 “administrative headquarters” are in New Jersey (¶115; Ex. 2 at 4). While The plc asserts it is

 9 “independent of and operates separately from the entities whose shares it holds” (Mem. at 3), its

10 confidential accounting policies require that The plc

11                                       (Ex. 3 at 804). While The plc asserts that its U.S. entities,
12 including other defendants in this action, “operate[] separately” and “autonomously” (Mem. at 3),

13 a confidential Management Service Agreement places

14

15

16 (Ex. 4 at 1, 13; see ¶118).

17             Though incorporated in Ireland as a result of a 2013 corporate tax inversion, The plc never
18 ceased running nationwide operations from its longstanding New Jersey home, including those

19 related to the marketing and sales of opioids in California. ¶115.3 As its Chief Executive Officer

20 (“CEO”) stated at the time of the inversion: “Everybody loves New Jersey too much, so nobody is

21 willing to go.” Ex. 6 at 1. Similarly, when The plc completed the acquisition of Allergan, Inc.,

22 The plc’s CEO stated that it “remain[ed] strongly committed to Irvine,” California, where

23 Allergan, Inc. had maintained its headquarters. Ex. 5 at 3. To this day, The plc’s top executives

24 all work in New Jersey. ¶115; Ex. 2 at 4. In 2018, more than 77% of The plc’s $15.8 billion in

25
   2
26 filedReferences to “Ex.” or “Exs.” are to the Exhibits attached to the Declaration of Aelish M. Baig,
         concurrently herewith, unless otherwise noted.
27 3 As an article in the Los Angeles Times remarked, the “pharmaceutical company [is]

28 headquartered in Dublin, Ireland, for tax reasons but [is] run out of Parsippany, N.J.” Ex. 5 at 3.
     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANT ALLERGAN PLC’S NOTICE OF
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 1 net revenues came from the United States, with that 25% of its overall revenues deriving from a

 2 single customer headquartered in San Francisco throughout substantially all of the relevant time

 3 period – defendant McKesson Corporation (“McKesson”).4 ¶170; Ex. 2 at 12. Until 2016, The

 4 plc was the second largest manufacturer of generic opioids in the U.S.5 In 2016, it sold its generic

 5 drug business (including the generic opioid business) to defendant Teva Pharmaceuticals Ltd.

 6 (“Teva”) for $40 billion. ¶¶120-130.

 7             Against the weight of the allegations and facts, The plc’s Memorandum repeats arguments

 8 it has lost five times in front of four separate courts adjudicating nearly identical actions, including

 9 before the MDL transferee court in this MDL. In the first bellwether action in this MDL, the MDL

10 transferee court held that factual disputes regarding whether The plc’s acquisition of Actavis, Inc.

11 constituted a de facto merger meant dismissal on jurisdictional grounds was improper. In re: Nat’l

12 Prescription Opiate Litig., 2019 WL 3553892, at * 5 (N.D. Ohio Aug. 5, 2019) (“Summit County”).

13 Rather, the issue “should be determined after the Court and the parties have the benefit of a full

14 trial record.”6 Id.7

15             A federal court in the Northern District of Illinois and state courts in Ohio and California
16 also found plaintiffs in those opioid cases had made a prima facie case for personal jurisdiction

17 over The plc. City of Chicago v. Purdue Pharma L.P., 2015 WL 2208423, at *7 (N.D. Ill. May 8,

18 2015) (“City of Chicago I”); City of Chicago v. Purdue Pharma L.P. (“City of Chicago II”), 211

19 F. Supp. 3d 1058, 1067 (N.D. Ill. 2016); State of Ohio ex rel. DeWine v. Purdue Pharma L.P.,

20 2018 WL 4080052, at *7 (Ohio Ct. Com. Pl. Aug. 22, 2018); Ex. 9 (The People of the State of

21 California, acting by and through Santa Clara County Counsel Orry P. Korb and Orange County

22
     4
          McKesson was headquartered in San Francisco, California until April 1, 2019. Ex. 7.
23
     5
          Ex. 8 at 3.
24
   6
25 afterAlthough   the MDL transferee court contemplated that jurisdictional discovery would proceed
         it issued this opinion, there was insufficient time between the date the motion to dismiss order
26 issued   and trial to complete jurisdictional discovery. As such, additional jurisdictional discovery
   remains to be done in this remanded case.
27   7
      Citations, internal quotations, and footnotes omitted and emphasis added unless noted
   otherwise.
28
     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANT ALLERGAN PLC’S NOTICE OF
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 1 District Attorney Tony Rackauckas v. Purdue Pharma L.P., No. 30-2014-00725287-CU-BT-CXC

 2 (Cal. Super. Ct. Feb. 13, 2018)) (“Santa Clara”).

 3             Consistent with these decisions, Plaintiffs make a prima facie case that The plc is subject

 4 to the jurisdiction of this Court based on the complaint’s allegations. The jurisdictional facts here,

 5 including that The plc made billions in revenue from a customer in San Francisco and that

 6 subsidiary defendant Allergan Sales, LLC, headquartered in Irvine, California, provides The plc’s

 7 executive management and strategic direction, are even stronger than those considered in Ohio or

 8 Illinois. The plc’s motion to dismiss for lack of personal jurisdiction should be denied.

 9             So, too, should its motion to dismiss for lack of service. The MDL transferee court entered

10 an order in the MDL compelling The plc’s subsidiaries who have appeared to accept service on its

11 behalf. Ex. 10. When it did not, the MDL transferee court deemed it had waived service as it had

12 already participated in discovery – the same discovery that will be used here.8 Plaintiffs have

13 attempted service through The plc’s counsel, who also represent its subsidiaries that do not contest

14 jurisdiction and who represented The plc against substantially identical claims in the Summit

15 County action. The plc’s motion to dismiss for lack of service is gamesmanship aimed (again) at

16 carving out a culpable defendant and the entity that likely has the best ability to fund an appropriate

17 settlement or judgement (due to its sale of the generic drug business for $40 billion). The plc’s

18 motion to dismiss for lack of service should be denied.

19 III.        LEGAL STANDARD
20             To establish personal jurisdiction, the plaintiff must demonstrate either: (1) general

21 jurisdiction; or (2) specific jurisdiction. Bancroft & Masters, Inc. v. Augusta Nat’l Inc., 223 F.3d

22 1082, 1086 (9th Cir. 2000) (overruled on other grounds). Specific jurisdiction, which Plaintiffs

23 assert here, refers to jurisdiction that arises out of or relates to the defendant’s contacts with a

24 forum. Yahoo! Inc. v. La Ligue Contre Le Racisme et L’Antisemitisme, 433 F.3d 1199, 1205 (9th

25 Cir. 2006).

26
   8
       Ex. 11 at 1 (“Although Allergan, PLC has not signed the waiver request from Plaintiffs due to
27 a dispute over the language of the request, Allergan, PLC has waived service as a practical matter
   by responding  to the Complaint and participating in discovery.”).
28
     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANT ALLERGAN PLC’S NOTICE OF
     MOTION AND MOTION TO DISMISS FIRST AMENDED COMPLAINT - 3:18-cv-07591-CRB                          -4-
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 1             Where a defendant moves to dismiss for lack of personal jurisdiction “based on written

 2 materials rather than an evidentiary hearing, ‘the plaintiff need only make a prima facie showing

 3 of jurisdictional facts to withstand the motion to dismiss.’” Ranza v. Nike, Inc., 793 F.3d 1059,

 4 1068 (9th Cir. 2015) (quoting CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1073 (9th

 5 Cir. 2011)). While “[a] plaintiff may not simply rest on the bare allegations of [the] complaint,”

 6 “uncontroverted allegations must be taken as true, and [c]onflicts between the parties over

 7 statements contained in the affidavits must be resolved in the plaintiff’s favor.” Id.9

 8 IV.         ARGUMENT
 9             A.        Plaintiffs Assert a Prima Facie Basis for Personal Jurisdiction over
                         Allergan plc
10
                         1.        Both the MDL Transferee Court and a Number of Other
11                                 Courts Presiding over Related Actions Have Found that
                                   Plaintiffs Established a Prima Facie Basis for Personal
12                                 Jurisdiction
13             The MDL transferee court in this MDL found that dismissal on jurisdictional grounds was

14 improper in light of factual disputes regarding whether The plc’s acquisition of Actavis, Inc.

15 constituted a de facto merger. Summit County, 2019 WL 3553892 at *5.10 Rather, the issue

16 “should be determined after the Court and the parties have the benefit of a full trial record.”11 Id.

17 The MDL transferee court’s findings are law of the case. See Omnibus Opp., Introduction and

18 Summary of Argument (Law of the Case).

19             The plc denigrates the MDL transferee court’s decision, criticizing its “single paragraph of

20 analysis” (Mem. at 10) but ignores the hundreds of pages submitted by plaintiff in opposition to

21 that motion, consistent with the jurisdictional evidence submitted here, that informed the decision.

22
   9
       “The Court may consider evidence presented outside the pleadings in assessing personal
23 jurisdiction.” In re German Auto. Mfrs. Antitrust Litig., 392 F. Supp. 3d 1059, 1066 n.3 (N.D. Cal.
   2019).
24
   10
       Plaintiffs here advance an additional argument in favor of personal jurisdiction on which the
25 MDL    transferee court did not rule: that Allergan plc should be subject to personal jurisdiction due
   to an alter-ego theory of liability. Infra, §§IV.A.2.b.
26
   11
27 557That   decision is consistent with precedent here. See Data Disc, Inc. v. Sys. Tech. Assocs., Inc.,
        F.2d 1280, 1285 n.2 (9th Cir. 1977) (When “a decision on the jurisdictional issues is dependent
28 on a decision of the merits . . . it is preferable that this determination be made at trial.”).
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 1 The plc also contends that California successor liability law is so different from that of Ohio that

 2 it requires a different result. Id. As explained below in §IV.A.2.a., however, jurisdiction is proper

 3 under California law. The plc simply ignores cases that justify the exercise of jurisdiction.

 4             Nor does the MDL transferee court stand alone. Other courts presiding over substantially

 5 similar actions have denied The plc’s motions to dismiss on jurisdictional grounds, especially

 6 when plaintiffs have presented facts similar to those presented here. In City of Chicago I, the court

 7 held that the plaintiff had set forth facts establishing that The plc was subject to jurisdiction because

 8 it was a successor to Actavis, Inc., i.e., the transaction that formed The plc “amount[ed] to a

 9 consolidation, merger, or similar restructuring of the two corporations or the purchasing

10 corporation [was] a mere continuation of the seller.” 2015 WL 2208423, at *7. As discussed

11 below, The plc is subject to jurisdiction under California law. §IV.A.2.a..

12             In reaching its conclusion, the City of Chicago I court relied on the following facts that

13 apply equally here:

14                      In creating The plc, each Actavis, Inc. common share was converted into a single
                         plc share (City of Chicago I, 2015 WL 2208423, at *7; Ex. 12 at 3);
15
                        Actavis, Inc.’s U.S. headquarters had been at Morris Corporate Center III, 400
16
                         Interpace Parkway, Parsippany, New Jersey; The plc’s “administrative
17                       headquarters” continued to be located in precisely the same place (City of
                         Chicago I, 2015 WL 2208423, at *7; compare Ex. 13 at 3 with Ex. 12 at 4);
18
                        The plc “retained all of Actavis, Inc.’s officers in the same positions” (City of
19                       Chicago I, 2015 WL 2208423, at *7; compare Ex. 13 at 77 with Ex. 12 at 98);
20                      The plc maintained the “same website as Actavis, Inc.” (City of Chicago I, 2015
21                       WL 2208423, at *7; compare Ex. 13 at 3 with Ex. 12 at 4; and

22                      The plc’s SEC filings defined references to “we, our, us, the Company or Actavis
                         [to] refer to [the] financial information” of Actavis, Inc. for the period of time
23                       immediately before the creation of The plc, and defined such references to refer to
                         The plc after its creation (City of Chicago I, 2015 WL 2208423, at *7; Ex. 12 at 3).
24
     Thus, City of Chicago I found that The plc “simply continued the business of Actavis, Inc.” 2015
25
     WL 2208423, at *7. The plc moved for reconsideration, to no avail. City of Chicago II, 211 F.
26

27

28
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 1 Supp. 3d at 1068.12 The facts relied on by the City of Chicago opinions have not changed in any

 2 relevant manner, are pled by Plaintiffs here (¶116), and are equally relevant to finding jurisdiction

 3 in this action.

 4             Similarly, state courts presiding over related cases have also denied The plc’s motions to

 5 dismiss for lack of jurisdiction. A California state court adjudicating related claims brought by the

 6 Counties of Santa Clara, Orange, and Los Angeles, and the City of Oakland, held, under the same

 7 law that applies here, that the counties and city established a prima facie case of personal

 8 jurisdiction over The plc. Ex. 9 (Santa Clara Minute Order). Similarly, a court adjudicating

 9 related claims brought by the State of Ohio denied The plc’s motion, concluding that Actavis, Inc.

10 was a predecessor to The plc and noting that the United States was the predecessor’s largest

11 commercial market. State of Ohio, 2018 WL 4080052, at *7.

12             The plc is notably silent with respect to the plainly relevant City of Chicago and State of

13 Ohio opinions and utterly dismissive of the Santa Clara opinion. Instead, The plc relies on three

14 inapplicable state court opinions.13 The plc also points out that, in support of its motion here, it

15 submits the same affidavit from executive James D’Arecca that one other court credited in finding

16 jurisdiction improper. Mem. at 12 (citing the South Carolina case discussed at n.13). But The plc

17 fails to mention that it also submitted the same affidavit from Mr. D’Arecca in support of The plc’s

18 motions in the MDL transferee court (Ex. 14) and in State of Ohio (Ex. 15) – as well as a

19

20

21   12
       The City of Chicago action was subsequently consolidated with this action and several
   thousand   others in the MDL transferee court.
22
   13
       In People of the State of New York v. Purdue Pharma L.P., a court found that successor-based
23 personal  jurisdiction was not available under New York law. ECF No. 162-2, Ex. 1 at 1. In
24 §IV.A.2.a. New
   contrast to       York, however, California recognizes successor-based personal jurisdiction. See
                In Tucson Med. Ctr. v. Purdue Pharma L.P., a court applying Arizona law found it
25 could  not exercise specific personal jurisdiction over The plc and denied leave for jurisdictional
   discovery. ECF No. 162-2, Ex. 2 at 2. The opinion, however, does not consider whether personal
26 jurisdiction over The plc is proper based on its relationship with its subsidiaries over whom the
   Court does have jurisdiction. See generally id. And in In re S. Carolina Opioid Litig., a court
27 applying  South Carolina law dismissed The plc because plaintiffs’ complaint contained only one
   paragraph generally alleging The plc controlled other named defendants. ECF No. 162-2, Ex. 3.
28 The opinion did not address any of the facts cited in State of Ohio, City of Chicago I, or herein.
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 1 substantially similar affidavit from a different executive in City of Chicago I (Ex. 16). Each of

 2 those courts denied The plc’s motion.

 3                       2.        Plaintiffs Have Made a Prima Facie Showing that The plc Is
                                   Subject to Personal Jurisdiction Based on Its Relationship with
 4                                 Its Subsidiaries
 5             The plc’s current and former subsidiaries concede that this Court has jurisdiction over

 6 Plaintiffs’ claims against them. Two theories provide independently sufficient bases for the Court

 7 to exercise jurisdiction over The plc based on its relationship with those subsidiaries: (1) successor

 8 liability; and (2) alter ego. Each theory provides an independent basis for the Court to exercise

 9 jurisdiction over The plc in this action.

10                                 a.     Allergan plc Is Subject to Specific Personal Jurisdiction
                                          as a Successor to Actavis, Inc.
11
               “A court has personal jurisdiction over an alleged successor company . . . if: (i) the court
12
     would have had personal jurisdiction over the predecessor and (ii) the successor company
13
     effectively assumed the subject liabilities of the predecessor.” Successor Agency to Former
14
     Emeryville Redevelopment Agency v. Swagelok Co., 364 F. Supp. 3d 1061, 1073-74 (N.D. Cal.
15
     2019).      “Determinations of successor liability are highly fact-specific, and it would be
16
     inappropriate for the court to rule on the substantive merits of plaintiffs’ case for successor liability
17
     at the pleadings stage.” Wilson v. Metals USA, Inc., 2013 WL 4586919, at *9 (E.D. Cal. Aug. 28,
18
     2013).
19
               A successor company effectively assumes the predecessor’s liabilities if: (i) the successor
20
     corporation expressly or impliedly agreed to assume the relevant liability; (ii) the transaction
21
     amounts to a consolidation or merger; (iii) the buyer corporation is merely a continuation of the
22
     seller corporation; or (iv) the transfer of assets was made for the fraudulent purpose of avoiding
23
     debt liabilities. Atchison, Topeka & Santa Fe Ry. Co. v. Brown & Bryant, Inc., 159 F.3d 358, 361
24
     (9th Cir. 1997); City of L.A. v. Wells Fargo & Co., 22 F. Supp. 3d 1047, 1062 (C.D. Cal. 2014)
25
     (citing CenterPoint Energy, Inc. v. Super. Ct., 157 Cal. App. 4th 1101, 1120 (2007)). At least the
26
     first, second and third bases for successor jurisdiction apply here.
27

28
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 1             Assumption of Liability. The plc has expressly and impliedly assumed the liability of

 2 numerous defendants in this action.

 3             First, an indemnification agreement between it and Teva implies The plc’s

 4 acknowledgment that it may be found liable for the actions of its former generic subsidiaries that

 5 were sold to Teva in 2016 for $33.4 billion in cash and about $5.4 billion in Teva stock. Ex. 17.

 6 Included in that sale was The plc’s generic opioid business – at the time, it was the second largest

 7 manufacturer of generic opioids in the United States.14 In 2018, after the national wave of opioid

 8 litigation had commenced, The plc and Teva entered into a contract whereby Teva agreed to

 9 indemnify The plc for claims in opioid litigation related to the generic opioids it sold to Teva. Ex.

10 18 at 3. At the summary judgment phase in the Summit County bellwether action, The plc and

11 Teva disagreed about the meaning of the indemnification clause in the 2018 contract and its

12 applicability in the context of this litigation. Ex. 19.15 Nevertheless, the mere existence of such a

13 provision implies that The plc acknowledges potential liability for actions related to its former

14 generic opioid business in actions such as this one. Otherwise, there would be no reason for The

15 plc to have been party to such a contract.

16             Second, The plc also expressly and impliedly adopted liability for Actavis, Inc.’s debts and
17 liabilities. In The plc’s 2013 annual report, The plc stated it has “provided a full and unconditional

18 guarantee of Actavis, Inc.’s obligations” for $4.7 billion of debt, extending out to as far as 2042.

19 Ex. 12 at 83.

20             Consolidation or Merger. When The plc was created, each common share of Actavis, Inc.

21 stock was simply converted into a common ordinary share of The plc. ¶¶115-116; City of

22 Chicago I, 2015 WL 2208423, at *7; Ex. 12 at 3, 56.16 There was no cash consideration. Thus,

23

24
     14
          Ex. 8 at 3.
25
   15
       See Ex. 19 (in opposition to The plc’s motion for summary judgment on the ground that the
26 clause meant it could not be held liable for any of the claims, Teva disagreed).
27 16 “One company is the successor of another if, among other things, ‘the transaction amounts to

28 acorporation
      consolidation, merger, or similar restructuring of the two corporations’ or ‘the purchasing
                is a “mere continuation” of the seller.’” City of Chicago I, 2015 WL 2208423, at *7
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 1 the sine qua non of the consolidation or merger successor liability exists here. See Marks v. Minn.

 2 Mining & Mfg. Co., 187 Cal. App. 3d 1429, 1436 (1986) (where “consideration paid for the assets

 3 [is] solely stock of the purchaser or its parent,” consolidation/merger liability is appropriate); id.

 4 (consolidation/merger liability appropriate where “the shareholders of the seller bec[a]me

 5 shareholders of the purchaser”); Franklin v. USX Corp., 87 Cal. App. 4th 615, 626, (2001)

 6 (emphasizing “the overriding significance of the type and adequacy of consideration paid”).

 7             Mere Continuation. Plaintiffs set forth evidence that “the purchaser continue[d] the same

 8 enterprise after the sale,” further justifying successor liability. Marks, 187 Cal. App. 3d at 1436.

 9 The continuation requirement is met “upon a showing of one or both of the following factual

10 elements: (1) no adequate consideration was given for the predecessor corporation’s assets and

11 made available for meeting the claims of its unsecured creditors; (2) one or more persons were

12 officers, directors, or stockholders of both corporations.” Ray v. Alad Corp., 19 Cal. 3d 22, 29

13 (1977).

14             As City of Chicago I concluded, “the record suggests that [the] plc simply continued the

15 business of Actavis, Inc.” 2015 WL 2208423, at *7; see also ¶116. In its first SEC filing after

16 creating The plc, the Company described itself in terms almost identical to the way Actavis, Inc.

17 had been described. Actavis, Inc. said it was “a leading integrated global specialty pharmaceutical

18 company engaged in the development, manufacturing, marketing, sale and distribution of generic,

19 branded generic, brand, biosimilar and over-the-counter (‘OTC’) pharmaceutical products.” Ex.

20 13 at 3. So did The plc. Ex. 12 at 3. The plc continues to refer to itself as a “U.S. pharmaceutical

21 manufacturer[]” in its SEC filings.17 The plc’s reliance on Fisher & Paykel Healthcare Ltd. v.

22 ResMed Corporation is misplaced. There, personal jurisdiction was not found not because

23 Plaintiffs relied on SEC Filings to establish jurisdiction; rather, there was no jurisdiction because

24

25 (quoting Upholsterers’ Int’l Union Pension Fund v. Artistic Furniture of Pontiac, 920 F.2d 1323,

26 1325-26 (7th Cir. 1990)).
   17
        Ex. 2 at 15 (“All U.S. pharmaceutical manufacturers, including Allergan, are subject to
27 extensive,  complex and evolving regulation by the federal government, principally the FDA, and
   to a lesser extent, by the U.S. Drug Enforcement Administration (‘DEA’).”).
28
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 1 – unlike here – defendant was not registered to do business in the United States, had no offices in

 2 the United States, did not sell products in the United States, and did not have any employees in the

 3 United States. 2017 WL 3635105, at *3 (S.D. Cal. Jan. 11, 2017).

 4             Moreover, despite transitioning from Actavis, Inc. to Allergan, the Company’s

 5 administrative headquarters and executives, and the substantial majority of its workforce, remain

 6 the same. ¶116. That’s because The plc was created to reduce the U.S. corporate income tax paid

 7 by Actavis, Inc. As described in a Fortune article titled, with aptly placed scare quotes, “Actavis:

 8 The latest Fortune 500 company to ‘leave’ the U.S. for tax reasons,” none of Actavis, Inc.’s

 9 employees moved to Ireland. Ex. 6; see also Ex. 20 (Kaufhold Tr.) at 122:1-8 (approximately

10 1,300 employees work at The plc’s administrative headquarters in New Jersey). Indeed, as set

11 forth above and confirmed by the exhibits attached hereto, the executive management of Actavis,

12 Inc. merely rolled over and became the executive management of the newly created plc. See supra

13 §IV.A.1. (The plc “simply continued the business of Actavis, Inc.” (quoting City of Chicago I,

14 2015 WL 2208423, at *7)); compare Ex. 13 at 77 with Ex. 12 at 98.

15             The plc asserts that it cannot be the successor to Actavis, Inc. because Allergan Finance,

16 LLC is (Mem. at 9), but this assertion ignores the reality of Allergan’s corporate structure, which

17 spread Actavis Inc.’s functions among several internal successors that now share power and

18 responsibility.18 The evidence shows that Actavis, Inc.’s responsibilities have been divided

19 between several successors, including Allergan Finance, LLC, but also The plc (as described

20 above) and fellow defendant Allergan Sales, LLC. Allergan Sales, LLC, an Actavis, Inc./Allergan

21 Finance, LLC subsidiary based in Irvine, California,

22

23

24

25
   18
       For this reason, Allergan plc’s reliance on In re Darvocet, Darvon & Propoxyphene Prod.
26 Liab. Litig., 2012 WL 1345175 (E.D. Ky. Apr. 18, 2012), is unpersuasive. There, the plaintiffs
   “merely  implie[d]” that the parent company “‘may have’ somehow assumed the liabilities of their
27 subsidiaries.”  Id. at *4. Here, the facts show a corporate knot of responsibilities that is impossible
   to untangle.
28
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 1                                                                         .19 Ex. 4 at 514; see Ex. 21

 2 (Steinberg Rpt.) at 18 (this fact, among others present here, “support[s] the levying of alter

 3 ego/piercing the corporate veil liability”). The Irvine facility is the site of the majority of The plc’s

 4 branded drug research and development. Ex. 22 at 12.

 5             The plc, in turn, succeeded Actavis, Inc. as the primary deal-making decision maker for its

 6 subsidiaries. For example, when Teva purchased the generic opioid portfolio, The plc reached

 7 down into and through various subsidiaries to select the particular assets to sell. Exs. 23-24. In

 8 return, Teva paid (and then indemnified) The plc, not Allergan Finance, LLC, against liability in

 9 this and other cases. Ex. 18. This evidence is more than sufficient to make a prima facie case that

10 The plc is the executive center of the corporation and that it follows in the footsteps of Actavis,

11 Inc. in that regard. See Swagelok, 364 F. Supp. 3d at 1075 (finding jurisdiction over the foreign

12 parent appropriate where plaintiff comes forward with evidence that it “was in control” of

13 acquisitions). Far from being a mere “holding company” (Mem. at 3), The plc’s sale of the generic

14 pharmaceutical business demonstrates it is the executive center of the corporation and follows in

15 the footsteps of Actavis, Inc. in that regard.

16             Because The plc held itself out as a U.S. pharmaceutical manufacturer, because its

17 employees and executive officers live and work in the U.S., because its executives are hired by a

18 California-based subsidiary to provide “strategic direction,” and because its statements reflect its

19 continuation of the work formerly done by Actavis, Inc., The plc should not be surprised that it is

20 subject to jurisdiction in California. See Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338

21 F.3d 773, 784 (7th Cir. 2003) (“In the corporate successor context, the successor corporation has

22 chosen to stand in the shoes of its predecessor and has chosen to accept the business expectations

23 of those who have dealt previously with that predecessor. Therefore, it can be expected to be haled

24 into the same courts as its predecessor.”).

25

26
   19
       For example, the treasurer for Allergan plc, Allergan Finance, LLC, and “numerous US
27 companies”  in the Allergan family, is an employee of Allergan Sales, LLC. Ex. 20 (Kaufhold Tr.)
   at 129:16-130:10,  139:9-11.
28
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 1             The plc’s reliance on Gerritsen v. Warner Bros. Entm’t, Inc., 116 F. Supp. 3d 1104, 1131

 2 (C.D. Cal. 2015), for the proposition that there can be no successor liability where the original

 3 company continues to exist is unpersuasive. To the contrary, a merger can be found even where

 4 the originating company continues to exist. See Swagelok, 364 F. Supp. 3d at 1075 (jurisdiction

 5 where parent is in control); Marks, 187 Cal. App. 3d at 1437 (“[U]nder some circumstances a

 6 union of parent and subsidiary can result in termination of the subsidiary’s liabilities. Such is not

 7 the case here[.]”). Regardless, Plaintiffs have also presented sufficient facts to make a prima facie

 8 case that The plc is a “bona fide successor” under the continuation theory. See Lowenthal v.

 9 Quicklegal, Inc., 2016 WL 5462499, at *8 (N.D. Cal. Sept. 28, 2016) (where company “engages

10 in the same business[,] . . . uses the same brand name, domain name, logo, social media accounts,

11 and software[,] and . . . has and/or had essentially the same board of directors, shareholders and

12 officers[,] . . . these facts show a continuity of business”); Ray, 19 Cal. 3d at 29 (emphasizing that

13 the continuity factors are disjunctive).

14             The plc’s reliance on Lefkowitz v. Scytl USA is also inapt. Mem. at 2, 9. There, the

15 predecessor was sold to a third-party creditor that, in turn, sold the predecessor’s assets to the

16 defendant. 2016 WL 537952, at *4 (N.D. Cal. Feb. 11, 2016). It was the lack of “direct sale” of

17 assets the court deemed “fatal to Plaintiff’s mere continuation argument.” Id. No intervening

18 purchaser is present here. And The plc’s reliance on Hyrdro-Air Equip., Inc. v. Hyatt Corp., 852

19 F.2d 403, 406 (9th Cir. 1988), undermines their motion. There, the Ninth Circuit held that the

20 successor question should be presented to the trier of fact. Id. at 407. Plaintiffs agree.

21                                 b.   Allergan plc Is Subject to Specific Personal Jurisdiction
                                        Under the Alter-Ego Theory
22
               “Under the federal law governing the exercise of personal jurisdiction, if a corporation is
23
     the alter ego of an individual defendant, or one corporation the alter ego of another, the Court may
24
     pierce the corporate veil jurisdictionally and attribute contacts accordingly. RAE Sys., Inc. v. TSA
25
     Sys., Ltd., 2005 WL 1513124, at *3 (N.D. Cal. June 24, 2005). A parent company is subject to
26
     jurisdiction based on the activities of its subsidiary if plaintiff shows: “(1) that there is such unity
27
     of interest and ownership that the separate personalities [of the two entities] no longer exist and
28
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 1 (2) that failure to disregard [their separate identities] would result in fraud or injustice.” Ranza,

 2 793 F.3d at 1073. This “alter ego test for personal jurisdiction is less stringent than that for

 3 liability.” Platypus Wear, Inc. v. Bad Boy Europe Ltd., 2018 WL 3706876, at *8 (S.D. Cal. Aug.

 4 2, 2018) (citing Stuart v. Spademan, 772 F.2d 1185, 1198 n.12 (5th Cir. 1985)). Plaintiffs identify

 5 facts sufficient to establish the prima facie existence of both elements at the pleading stage.

 6                                     (1)   There Is a Unity of Interest and Ownership
                                             Between Allergan plc and Its Subsidiaries
 7
               To determine whether a unity of interest exists, courts typically consider a number of non-
 8
     exclusive factors. See Swagelok, 364 F. Supp. 3d at 1079 (listing ten factors). When “determining
 9
     whether a unity of interest exists, a court need not find that every factor is present.” Updateme
10
     Inc. v. Axel Springer SE, 2018 WL 1184797, at *10 (N.D. Cal. Mar. 7, 2018). In fact, “[s]ome
11
     courts have held that a plaintiff need only plead two or three of these factors to adequately plead
12
     unity of interest.” Johnson v. Serenity Transp., Inc., 141 F. Supp. 3d 974, 985 (N.D. Cal. 2015).
13
     “Because no one factor governs the analysis, courts should look at all the circumstances to
14
     determine whether the alter ego doctrine applies.” Swagelok, 364 F. Supp. 3d at 1078; see FRB v.
15
     HK Sys., 1997 WL 227955, at *6 (N.D. Cal. Apr. 24, 1997) (determining whether an alter ego
16
     exists “depends on the circumstances surrounding each particular case”).
17
               The circumstances of this particular case militate strongly in favor of demonstrating a unity
18
     of interest and ownership between The plc and its subsidiaries that do not contest jurisdiction. As
19
     Professor Steinberg concluded in a report filed in the MDL that is equally applicable here,
20
     “material factual questions exist with respect to the liability of Allergan plc as well as the propriety
21
     of veil piercing.” Ex. 21 (Steinberg Rpt.) at 22.
22
               Failure to Maintain Arm’s-Length Relationship. The Management Service Agreement
23
     between The plc,
24

25

26
                                                      Ex. 4 at 514. And the enterprise-wide confidential
27

28
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 1 from the Allergan plc subsidiary enterprises whose stock was sold to Teva . . . .”).20 Further, the

 2 existence of the Management Service Agreement “poses the realistic possibility” that

 3             an adequate accounting or other sufficient documentation does not exist to reflect
               the performance and payment of these services; the commingling of assets and
 4             liabilities occurred among a number of Allergan Group-wide enterprises with
               respect to the performance of these services; and that the separate identity of a
 5             number of the Allergan Group-wide entities was not adhered to with respect to the
               administration and implementation of the Management Service Agreement
 6
     which supports an alter ego finding. Ex. 21 (Steinberg Rpt.) at 17-18.21
 7
               Use of the Same Location and Attorney. The plc’s administrative headquarters is located
 8
     at the same address that fellow defendants Allergan Finance, LLC and Allergan Sales, LLC are
 9
     located. Ex. 38 (The plc); Ex. 39 (Allergan Finance, LLC); Ex. 40 (Allergan Sales, LLC). The
10
     entities are also represented by the same counsel. See, e.g., Mem. at 14 (signature block for the
11
     instant motion, signed by counsel for defendants Allergan Finance, LLC, Allergan Sales, LLC,
12
     and Allergan USA, Inc.).
13
               Shared Directors, Officers, and Management. The plc “retained all of Actavis, Inc.’s
14
     officers in the same positions” upon its creation. City of Chicago I, 2015 WL 2208423, at *7. As
15
     of March 2018, six of The plc’s eight executive officers still served as the top officers of Allergan
16
     Finance, LLC. ¶116; compare Ex. 50 at 108 with Ex. 51 at 331-32.
17
               The plc’s Adoption of Actavis, Inc.’s Debts. As explained above, The plc expressly adopted
18
     the debts and liabilities of Actavis, Inc. Supra, §IV.A.2.a.
19
               Identical Equitable Ownership. When The plc was created to effectuate the merger of
20
     Actavis, Inc. and Warner Chilcott, each common share of Actavis, Inc. stock was converted into a
21
     common share of The plc stock on a one-to-one basis. ¶¶115-116; City of Chicago I, 2015 WL
22

23
   20
       According to ARCOS data made public by the MDL transferee court, the entities sold by
24 Allergan  plc to Teva were responsible for 16.3% of oxycodone, 32.8% of hyrdocodone, 9.8% of
   all morphine,  and 10.7% of all fentanyl distributed in California from 2006-2014, inclusive, as
25 measured by dosage   units. Ex. 37 (see market shares associated with former subsidiary “Actavis
   Pharma,  Inc.”).
26
   21
27 wereEven   if the services provided by Allergan Sales, LLC and another subsidiary to Allergan plc
         properly accounted for, “a number of courts view this practice as a factor weighing in favor
28 of veil piercing.” Ex. 21 (Steinberg Rpt.) at 19.
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 1 2208423, at *7. The owners of Actavis, Inc. became the owners of The plc in equal measure. As

 2 such, ownership was identical.

 3             Considered holistically, these factors reflect a single incorporated enterprise with a unity

 4 of ownership and interest. See ¶131.

 5                                     (2)    The Failure to Disregard Allergan’s Purported
                                              Separateness Would Result in Fraud or Injustice
 6
               Further, treating The plc and named subsidiaries as separate entities would result in
 7
     injustice. Inequitable results flowing from the recognition of the corporate form include the
 8
     frustration of a meritorious claim, perpetuation of a fraud, and the fraudulent avoidance of personal
 9
     liability. Pac. Mar. Freight, Inc. v. Foster, 2010 WL 3339432, at *7 (S.D. Cal. Aug. 24, 2010).
10
               “A finding of bad faith . . . is not prerequisite to the application of the alter ego doctrine
11
     under California law.” RRX Indus., Inc. v. Lab-Con, Inc., 772 F.2d 543, 546 (9th Cir. 1985).
12
     Indeed, “the bulk of case law seems to omit or even expressly disavow a bad-faith or fraudulent-
13
     intent requirement.” Pac. Bell Tel. Co. v. 88 Connection Corp., 2016 WL 3257656, at *4 (N.D.
14
     Cal. June 14, 2016); see Relentless Air Racing, LLC v. Airborne Turbine Ltd. P’ship, 222 Cal.
15
     App. 4th 811, 816 (2013) (a California Court of Appeal held a “trial court erred in requiring [the
16
     plaintiff] to prove that [the defendant] acted with wrongful intent. The law does not require such
17
     proof.”). “[T]he corporation need not be formed for the purpose of wrongdoing”; rather, the
18
     company need only be “used to carry out some misdeed.” Pac. Bell, 2016 WL 3257656, at *3
19
     (emphasis omitted). As explained by the California Supreme Court, “it is an issue of whether in
20
     the particular case presented and for the purposes of such case justice and equity can best be
21
     accomplished and fraud and unfairness defeated by a disregard of the distinct entity of the
22
     corporate form.” Mesler v. Bragg Mgmt. Co., 39 Cal. 3d 290, 300-01 (1985).
23
               Further, “some cases indicate that disregarding corporate formalities can itself yield
24
     sufficient inequity for alter-ego purposes. That there is, in other words, some overlap between the
25
     unity-of-interest and inequitable-result heads of the alter-ego analysis.” Pac. Bell, 2016 WL
26
     3257656, at *6. As here, when unity of interest exists, The plc’s very denial of its relationship
27
     with its subsidiaries, including defendants Allergan Finance, LLC and Allergan Sales, LLC, to
28
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 1 avoid legal consequences in cases such as this would “enable [the] shell game to continue” and

 2 would lead to “an inequitable result.” Cadence Design Sys., Inc. v. Pounce Consulting, Inc., 2019

 3 WL 1768619, at *6 (N.D. Cal. Apr. 1, 2019), report and recommendation adopted by, 2019 WL

 4 1767332 (N.D. Cal. Apr. 22, 2019). See also Johnson, 141 F. Supp. 3d at 985-86 (finding second

 5 prong of alter-ego theory met where defendant’s conduct would have resulted in his receiving a

 6 windfall from funds that would have otherwise gone to plaintiffs but for defendant’s misconduct).

 7             The shell game described by the Cadence court is child’s play compared to the relationship

 8 between The plc and its subsidiaries here. A “Management Service Agreement” between The plc,

 9 on the one hand, and                                                  on the other, shows that The plc was,

10 and remains, an integrated group of entities with common decision makers, common office

11 managers, and a common goal. ¶131; Ex. 4. The agreement puts

12

13

14                                     Id. at 514. Thus, The plc is the shareholder (through a series of largely
15 employee-less holding companies) of entities that, despite being far removed on the tax department

16 organizational chart, manage it.

17             The corporate hierarchy from The plc to Allergan Finance, LLC proceeds through 11
18 entities incorporated in 4 countries:

19

20

21

22

23                 Ex. 41 at 024. Allergan Sales, LLC is four entities further down the chain: continuing

24 from

25                                                                                          ¶¶115-130; Ex. 41.

26

27

28
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 1 This permeable mishmash of responsibility, power, and control disproves Allergan’s contention

 2 that The plc and its subsidiaries operate independently.22 See ¶131.

 3             Moreover, although The plc states that Allergan Finance, LLC is presently solvent (Mem.

 4 at 10), it fails to address that it is exposed to substantial liability in thousands of other related

 5 actions, both in the MDL and in other proceedings. This action has contributed to the bankruptcy

 6 of two formerly solvent companies thus far – Purdue Pharma and Insys – and it is all but certain

 7 that Allergan Finance, LLC could not fund judgment against it in thousands of contemporaneous

 8 cases. This unique circumstance, too, militates in favor of finding injustice. See Indep. Elec.

 9 Supply Inc. v. Solar Installs, Inc., 2018 WL 6092800, at *9 (N.D. Cal. Nov. 21, 2018) (“If

10 [Successor Defendant] is dismissed once again from this case, Plaintiff will be left with one

11 insolvent corporate defendant unable to pay damages even if found liable. With [Successor

12 Defendant] unable to pay, injustice will be promoted[.]”).23

13                       3.        The Exercise of Jurisdiction over Allergan plc Comports with
                                   Due Process
14
               Assertion of jurisdiction over Allergan plc comports with due process.         “Because
15
     California’s long-arm jurisdictional statute is coextensive with federal due process requirements,
16

17
     22
18       Given this Gordian knot, it is unsurprising that even the companies’ own deponents have been
     confused about who employed them. A corporate designee for topics related to marketing was not
19   wholly sure for which corporation she had been designated to provide testimony. Ex. 42 (Snyder
     Tr.) at 19:7-15 (“It’s on behalf of Allergan, I’m not clear on the exact corporate structure. That
     wasn’t part of my – what I prepared for. But my understanding is it’s Allergan. I believe Allergan
20   Finance.”). Other deponents with key responsibilities had no idea, including the person in charge
     of SOM at a company acquired by Actavis, Inc. Ex. 43 (Baran Tr.) at 82:3-14) and the sole
21   employee in the same company’s compliance department (Ex. 44 (Clarke Tr.) at 49:5-50:9). And
     even when they knew, their knowledge only revealed further confusion: Allergan’s designee for
22   the corporate form testified he had been designated to testify on behalf of Allergan plc, which, at
     that point in time, was refusing to participate in discovery. Ex. 20 (Kaufhold Tr.) at 12:7-9; see
23   Ex. 45 at 1 n.1 (“Allergan plc f/k/a Actavis plc has no obligation to respond to these Requests at
     this time.”).
24
     23
       Assuming that agency continues to be relevant to the existence of specific jurisdiction, which
25 is not entirely clear under the Ninth Circuit’s decision in Williams v. Yamaha Motor Co., 851 F.3d
   1015   (9th Cir. 2017), the facts set forth herein demonstrating Allergan plc’s relationship with and
26 control over   its subsidiaries also support a finding of agency. See id. at 1024 (suggesting there
   may  be   a standard  of agency relevant to specific jurisdiction because the holding in Daimler AG
27 v. Bauman, 571 U.S.       117 (2014), which overruled agency-based general jurisdiction, did not
   address   agency  in the context of specific jurisdiction).
28
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 1 the jurisdictional analyses under state law and federal due process are the same.” Dole Food Co.

 2 v. Watts, 303 F.3d 1104, 1110 (9th Cir. 2002) (citing Cal. Code Civ. P. §410.10). Due process

 3 requires that a defendant have minimum contacts such that maintenance of the suit does not offend

 4 traditional notions of fair play and substantial justice. Int’l Shoe Co. v. State of Washington, 326

 5 U.S. 310, 316 (1945). The Ninth Circuit follows a three-part test for evaluating whether the

 6 exercise of jurisdiction over a non-resident defendant comports with due process:

 7             (1) The non-resident defendant must purposefully direct his activities or
               consummate some transaction with the forum or resident thereof; or perform some
 8             act by which he purposefully avails himself of the privilege of conducting activities
               in the forum, thereby invoking the benefits and protections of its laws;
 9
               (2) the claim must be one which arises out of or relates to the defendant’s forum-
10             related activities; and

11             (3) the exercise of jurisdiction must comport with fair play and substantial justice,
               i.e. it must be reasonable.
12
     Yahoo!, 433 F.3d at 1205-06.
13
               There is no dispute that under this test, the Court has personal jurisdiction over Allergan
14
     Finance, LLC, Allergan Sales, LLC, and Allergan USA, Inc., as well as numerous of Allergan
15
     plc’s former subsidiaries sold to Teva – each has appeared in this action and none contests
16
     jurisdiction. As set forth above, Plaintiffs have made a prima facie case that Allergan plc is subject
17
     to jurisdiction via an alter ego and/or agency theory. “The exercise of jurisdiction over an alter
18
     ego is compatible with due process because a corporation and its alter ego are the same entity –
19
     thus, the jurisdictional contacts of one are the jurisdictional contacts of the other for purposes of
20
     the International Shoe due process analysis.” SEC v. Jammin Java Corp., 2016 WL 6595133, at
21
     *10 (C.D. Cal. July 18, 2016); see Patin v. Thoroughbred Power Boats, Inc., 294 F.3d 640, 653 &
22
     n.18 (5th Cir. 2002) (“[F]ederal courts have consistently acknowledged that it is compatible with
23
     due process for a court to exercise personal jurisdiction over an individual or a corporation that
24
     would not ordinarily be subject to personal jurisdiction in that court when the individual or
25
     corporation is an alter ego or successor of a corporation that would be subject to personal
26

27

28
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 1 jurisdiction in that court.”).24

 2             Allergan plc’s assertion that jurisdiction violates due process turns entirely on its

 3 contention that it is distinct from its U.S. defendant subsidiaries. As set forth above, the acts

 4 carried out by Allergan plc’s current and former predecessors and subsidiaries that have appeared

 5 in this action – specifically, the marketing and sale of opioids and failure to comply with the federal

 6 and California Controlled Substances Acts for suspicious orders placed by its California-based

 7 customers – are properly attributable Allergan plc. It therefore follows that jurisdiction over

 8 Allergan plc is reasonable as well. See German Auto., 392 F. Supp. 3d at 1066 (exercising

 9 jurisdiction where foreign parent company “purposefully directed their activities at the United

10 States[] [t]hrough subsidiaries.”).

11             Indeed, additional facts also demonstrate the existence of contacts sufficient to establish

12 specific personal jurisdiction under California’s long-arm statute. The plc boasts that it maintains

13 its operations have a substantial economic impact in California. In 2016, The plc issued a press

14 release boasting that its “California operations generate annual economic activity of more than $6

15 billion [and have a] net economic impact of $3.45 billion.”25 Those operations included sales of

16 generic opioids through 2016 and continue to include sales of brand opioids Kadian and Norco.26

17
     24
18         As such, Allergan plc’s citations to Picot v. Weston, 780 F.3d 1206 (9th Cir. 2015); Kellman
     v. Whole Foods Mkt., Inc., 313 F. Supp. 3d 1031 (N.D. Cal. 2018); Sleep Sci. Partners v.
19   Lieberman, 2009 WL 4251322 (N.D. Cal. Nov. 23, 2009); and F. Hoffman-La Roche, Ltd. v. Super
     Ct., 130 Cal. App. 4th 782 (2005) (Mem. at 6-7), are unavailing. Picot did not involve an alter-
     ego or agency theory of personal jurisdiction, and Kellman denied plaintiffs’ alter ego theory. 313
20   F. Supp. 3d at 1047). Sleep Science not only did not involve alter ego or agency, it denied
     defendant’s motion to dismiss for lack of personal jurisdiction. 2009 WL 4251322, at *1. And in
21   F. Hoffman-La Roche, the court simply stated that “neither ownership nor control of a subsidiary
22   . . . without more, subjects the parent to the jurisdiction of the state where the subsidiary does
     business.” 130 Cal. App. 4th at 797. Unlike there, where the court found that the degree of control
     the parents exerted over its subsidiaries did not exceed the ordinary and necessary degree of control
23   incident to ownership of a subsidiary (id. at 800), as demonstrated above, Plaintiffs here have
     proffered ample evidence of Allergan plc’s pervasive control over its subsidiaries.
24
     25
          Ex. 46 at 1.
25
   26
       The same press release quoted the Company’s CEO, who stated: “Since our founding in Los
26 Angeles   in 1948, and throughout our history in Southern California, Allergan has been very proud
27 Ex. 46 at 2. The impact
   of the significant        we’ve had on this region and the State of California for nearly 70 years.”
                      press release stated, among other things, that Allergan’s 2016 “combined taxes
28 paid directly by Allergan in the state are expected to exceed $108 million” and that its California
   workforce made “more than $438 million in total compensation.” Id. It also stated that beyond
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 1 decision of the merits . . . it is preferable that this determination be made at trial.” Data Disc, 557

 2 F.2d at 1285 n.2; see also Summit County, 2019 WL 3553892, at *6 (whether the exercise of

 3 jurisdiction over The plc is proper “should be determined after the Court and the parties have the

 4 benefit of a full trial record”).

 5             Here, much of the same proof that would establish Allergan plc’s substantive liability, such

 6 as its direct or indirect activities falsely marketing opioids, failing to monitor suspicious orders,

 7 and participating in a RICO enterprise, would also establish personal jurisdiction over The plc.

 8 The proof at trial will largely overlap among the entities, and the entities are represented by the

 9 same counsel, thereby minimizing the risk of unnecessarily expending resources at trial even if the

10 fact finder later concludes that personal jurisdiction over The plc is lacking.

11             In sum, Plaintiffs have plausibly alleged that The plc engaged in the misconduct in

12 question, established a prima facie case against it, and come forth with sufficient factual evidence

13 to warrant an exercise of personal jurisdiction over the Company. Even hampered by severely

14 limited jurisdictional discovery, Plaintiffs have more than met their burden at this stage of the

15 litigation. To the extent there are remaining factual disputes, the Court should leave for trial the

16 final determination of the overlapping substantive relevant facts that would establish both

17 substantive liability and personal jurisdiction.

18             B.        The MDL Transferee Court Ordered Allergan plc to Accept Service
                         in All MDL Actions
19
               In an order relating to “all cases” issued by the MDL transferee court, The plc’s subsidiaries
20
     were ordered to accept service on The plc’s behalf for any MDL action. “MDL Defendant[s] must
21
     accept service for” a “foreign entity that is a parent or subsidiary of any corporate defendant in the
22
     MDL.” Ex. 10 at 1.28 Plaintiffs attempted to serve The plc through its and its subsidiaries’ outside
23

24
   28
       Even then, The plc refused to accept service, and Plaintiffs moved for default judgment. The
25 MDL   transferee court declined Plaintiffs’ motion, but determined The plc had waived service by
   responding  to the complaint and participating in discovery. Ex. 11 at 1. That discovery was for
26 all MDL cases.   For example, in a transcript noting the testimony concerned “all cases,” corporate
   designee Stephan   Kaufhold testified as a corporate designee of The plc. Ex. 20 at 1, 12:2-9. Thus,
27 under law of the case,  the PLC’s participation in discovery constitutes a waiver here, too. See
   Omnibus   Opp.,  Introduction and Summary of Argument (Law of the Case).
28
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 1 counsel. Despite the MDL transferee court’s order, counsel refused because, according to counsel,

 2 it is no longer in the MDL.29 Consistent with the MDL transferee court’s order, the Court should

 3 deem The plc served. See Nwatulegwu v. Boehringer Ingelheim Pharm., Inc., 668 F. App’x 173,

 4 175 (7th Cir. 2016) (“[s]trict adherence to case management orders is necessary to manage

 5 multidistrict litigation”); In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217,

 6 1232 (9th Cir. 2006) (on remand, courts should maintain “[c]ase management orders” because they

 7 “are the engine that drives disposition on the merits”).30 The plc’s subsidiaries that have appeared

 8 in this action and counsel common to The plc and those subsidiaries are required to accept service

 9 of the complaint on The plc.

10             In the alternative, Plaintiffs respectfully request permission to move for an order pursuant

11 to Rule 4(f)(3) of the Federal Rules of Civil Procedure that they may serve The plc through its

12 counsel, which represents the Company in the MDL. International agreement does not prohibit

13 such service, and it is “reasonably calculated to provide actual notice” to The plc. Carrico v.

14 Samsung Elec. Co., 2016 WL 2654392, at *3 (N.D. Cal. May 10, 2016).

15 V.          CONCLUSION
16             The Court should deny The plc’s motion to dismiss for lack of personal jurisdiction.31 And,

17 consistent with the orders concerning service in all cases in the MDL and The plc’s waiver of

18 service, the Court should deny The plc’s motion to dismiss for lack of service.

19

20   29
          Ex. 49.
21   30
       Defendants cite to three cases where The plc was dismissed in opioid-related actions filed in
22 June courts.
   state         Mem. at 13 (citing In re Opioid Litig., 2018 WL 3115102, at *15-*16 (N.Y. Sup. Ct.
          18, 2018); Tucson Med. Ctr. v. Purdue Pharma L.P., Sup. Ct. No. C20184991, at 1 (Ariz.
23 Sup.  Ct. Sept. 16, 2019); In re S. Carolina Opioid Litig., No. 2018-CP-23-01294 (S.C. Ct. Com.
   Pl. Thirteenth Jud. Dist., Apr. 8, 2020)). Because each is a state court action, none was subject to
24 the MDL transferee court’s order that The plc’s subsidiaries accept service on its behalf.
   31
       In the alternative, Plaintiffs request permission to take jurisdictional discovery. Evidence
25 already  shows that Plaintiffs’ claims arise out of or relate to Allergan plc’s conduct in California.
26 defendantsEx.
   See,  e.g.,    2 at 12 (the Company’s largest customers from 2016 through 2018 were distributor
                McKesson (then based in California), Cardinal Health, and AmerisourceBergen; during
27 each  of those years, the distributor defendants purchased opioids from Allergan plc to distribute in
   California). Thus, jurisdictional discovery is appropriate. See Lang Van, Inc. v. Vng Corp., 669
28 F. App’x 479, 480-81 (9th Cir. 2016).
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     Cases\4846-8009-7212.v1-5/15/20
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 1                                       CERTIFICATE OF SERVICE

 2             I hereby certify under penalty of perjury that on May 15, 2020, I authorized the electronic

 3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 4 notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and

 5 I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

 6 the non-CM/ECF participants indicated on the attached Manual Notice List.

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